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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-21962-CIV-ALTONAGA/GOODMAN


  NESTOR KOVALIVKER and ROMINA
  BUONTEMPO

        Plaintiff(s),

  vs.

  TEAM REAL ESTATE MANAGEMENT,
  LLC.; TEAM REAL ESTATE
  DEVELOPMENT, LLC., CHRISTIAN
  FINKELBERG, RUBEN SANTURIAN,
  DIEGO BESGA, MARCELO SCHAMY,
  VALERIA SEMINARA, HIGHLAND
  FOREST INVESTMENTS, LLC., DARIN
  WADE MELLINGER, P.A., d/b/a
  MELLINGER LLP and DARIN WADE
  MELLINGER

        Defendant(s).
  _________________________________/

                             NOTICE OF CHANGE OF ADDRESS

        YOU ARE HEREBY NOTIFIED that effective October 19, 2020, counsel for the

  Defendants, TEAM REAL ESTATE MANAGEMENT, LLC, CHRISTIAN FINKELBERG and

  VALERIA SEMINARA, address has changed as follows:


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                                      CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on November 3, 2020, I electronically filed the foregoing with
  the Clerk of the Court by using the CM/ECF system. I further certify that I e-mailed or mailed
  the foregoing document and the notice of electronic filing to all counsel of record or pro se
  parties of record, either via transmission of Notices of Electronic Filing generated by CM/ECF or
  by U.S. mail for those counsel or parties who are not authorized to receive electronically Notices
  of Electronic Filing.
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                                       SERVICE LIST

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